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                                                                                                         Arent Fox LLP / Attorneys at Law
                                                                      Los Angeles, CA / New York, NY / San Francisco, CA / Washington, DC
                                                                                                                        www.arentfox.com




       June 18, 2018                                                                                Sara T. Schneider
                                                                                                    Associate
                                                                                                    415.757.5911 DIRECT
       VIA ECF                                                                                      415.757.5501 FAX
                                                                                                    sara.schneider@arentfox.com
       Honorable Judge Abrams
       United States District Court
       Southern District of New York
       40 Foley Square, Room 2203
       New York, NY 10007
       (212) 805-0284

       Re:        Carbine v. Lacoste USA, Inc., 1:18-cv-04442-RA

       Dear Judge Abrams:

               This firm represents Defendant Lacoste USA, Inc. (“Defendant”) in the above-captioned
       matter. Pursuant to Local Rule 7.1(d), Defendant requests a 30-day extension of the time to
       respond, extending the deadline from June 19, 2018 to July 18, 2018. Plaintiff has agreed to the
       extension.

               This request is made to allow the parties engage in good faith discussions regarding
       resolving this matter. This is the Defendant’s first request for an extension of time, and it does
       not affect any other scheduled deadline or court appearance. We thank the Court for its
       consideration of this request.

       Respectfully Submitted,

       Sincerely,

       /s/ Sara T. Schneider

       Sara T. Schneider


       Copy: Javier Merino, Esq. (via ECF)




555 West Fifth Street, 48th Floor   1675 Broadway                   55 Second Street, 21st Floor      1717 K Street, NW
Los Angeles, CA 90013-1065          New York, NY 10019-5820         San Francisco, CA 94105-3470      Washington, DC 20006-5344
T 213.629.7400 F 213.629.7401       T 212.484.3900 F 212.484.3990   T 415.757.5500 F 415.757.5501     T 202.857.6000 F 202.857.6395
